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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

   The Thomas L. Pearson and
   The Pearson Family Members Foundation,

                  Plaintiff and Counterclaim
                  Defendant,

          v.

   The University of Chicago,                                    Case No.: 18-CV-99-GKF-FHM

                  Defendant and Counterclaimant,

          v.

   Thomas L. Pearson,

                  Counterclaim Defendant.



           THE THOMAS L. PEARSON AND THE PEARSON FAMILY MEMBERS
           FOUNDATION’S REPLY IN SUPPORT OF ITS MOTION TO COMPEL

          Plaintiff/Counter-Defendant The Thomas L. Pearson and the Pearson Family Members

   Foundation (the “Foundation”) submits this Reply in Support of its Motion to Compel.

                                           INTRODUCTION

          The University of Chicago (the “University”) has inaccurately attempted to portray its

   stance in discovery as generous. The reality is far different. It is the Foundation that has agreed to

   all of the search terms the University has requested and nearly all of the custodians requested (apart

   from two lawyers in private practice).1 And while the University inevitably has more custodians


   1
           This includes agreeing to two custodians, David and Philip Pearson, who have had no
   involvement whatsoever in The Pearson Institute or the facts at issue in this case. Their only
   relation to this matter is that, because of their familial relationship, they were both designated as
   Vice Presidents of the Foundation for purposes of attending the public announcement of the Grant
   Agreement on September 30, 2015.
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   and more documents to search for and review, it does not mean that it should be able to avoid

   collecting and producing relevant, discoverable documents and information by pointing to

   numbers alone as evidence of its burden.

            The University’s Response (Doc. 57) is a continuation of the University’s efforts to

   unilaterally narrow the scope of the Foundation’s claims, where the Court has declined to do so.

   The University opposes discovery on the topics of faculty selection and curriculum, but those

   issues are squarely raised in the Foundation’s breach of contract and breach of good faith and fair

   dealing claims. The University’s additional concerns raised regarding confidentiality are meritless

   given the Protective Order in place. In addition, the additional sources of discovery sought in the

   Foundation’s Motion—additional search terms, four custodians, and ESI from mobile devices—

   are reasonable given the serious issues at stake in this case and the amount in controversy. The

   University has not demonstrated otherwise and the Foundation’s Motion to Compel should be

   granted in its entirety.

                                              ARGUMENT

       I.      Faculty Selection Documents and Information Are Relevant, Discoverable, and
               Can Be Protected from Public View by the Stipulated Protective Order.

            The University had an obligation to staff The Pearson Institute with elite faculty that would

   give the Institute instant credibility on the world stage. The Foundation’s claims are based in part

   on the University’s failure to adequately fulfill this obligation. Nevertheless, the University is

   resisting this discovery, asserting that production of information and documents related to the

   selection of faculty for The Pearson Institute would bring about a parade of horribles. Specifically,

   the University claims that the requested discovery would “threaten the integrity” of its faculty

   hiring process and have a chilling effect on candidate feedback. (Response at 5-7). Given the

   Stipulated Protective Order in place and the rare occurrence of a lawsuit such as this, the


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   University’s concerns are vastly overblown and do not warrant stifling the discovery process.

   Further, the University has failed to demonstrate that the Grant Agreement forecloses discovery

   on this topic.

            The Stipulated Protective Order permits the parties to designate as confidential “sensitive

   information,” which thereby prevents disclosure of the information to anyone other than “those

   persons who, by the Terms of [the] Order, may have access to Confidential Information.” (Doc.

   51 at 2; 5). As such, there is no risk that the faculty selection information or tenure files will

   become part of the public domain. The fact that such information, once produced, would be viewed

   by the University’s adversary in this litigation is not a sufficient basis to suppress it. If the standard

   advanced by the University—essentially, concern that “someone other than” the original author of

   a document might view it (Response at 7)—were adopted as a basis to withhold the requested

   information, discovery in every case would grind to a halt. The Stipulated Protective Order was

   put in place to safeguard precisely this type of information and negates in its entirety the argument

   advanced by the University.

           The University also opposes discovery based upon its self-serving interpretation of § 3.5(b)

   of the Grant Agreement. That provision, narrow in its scope, prohibits the Foundation and the

   Pearson Family from having any “role or authority with respect to making appointments (academic

   or professional) to [T]he Pearson Institute or the Pearson Forum…” (Doc. 57-4) (emphasis added).

   This provision—contrary to the University’s misguided reading—does not say that there are

   simply no standards that the University must meet when it comes to faculty selection. The

   University would have the Court believe that it could select anyone off the street as a faculty

   member and not run afoul of its duties to the Foundation. This is not so. The University was tasked

   with creating a world-class institute, and indeed, it made representations that it would hire elite



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   faculty to achieve this goal. The University was likewise obligated to act in good faith in carrying

   out its agreement with the Foundation. The Foundation’s claims assert that the University failed

   to do so when it selected junior-level, non-tenured individuals to serve as named chaired faculty

   and failed to keep the Foundation informed during the process.

          The cases cited by the University actually buttress the Foundation’s right to the discovery

   it seeks. The court’s opinion in Kumar v. Board of Trustees, 774 F.2d 1 (1st Cir. 1985), makes

   clear the record in that case contained exactly the kind of documentary evidence the University is

   attempting to withhold in the instant matter. The Kumar court quoted extensively from

   correspondence and memoranda between university officials regarding Professor Kumar’s

   qualifications. See id. at 2-7. In Theidon v. Harvard Univ., 314 F.R.D. 333, 336 (D. Mass. 2016),

   another case cited by the University, the court ordered production of documents related to a

   university tenure decision because “the information at issue [was] essential to [the plaintiff’s]

   effort to acquire probative evidence, an interest that outweigh[ed] Harvard's interest in

   confidentiality.” Id. at 336. The court also relied on the fact that the documents would be “subject

   to a protective order allowing Harvard to designate them confidential and prohibiting their

   disclosure to the public.” Id. In contrast, the court in Blum v. Schlegel, 150 F.R.D. 38, 40

   (W.D.N.Y. 1993) denied discovery where the “court’s review of the disputed documents

   reveal[ed] that the tenure review information requested by Plaintiff ha[d] no bearing on any issue

   in the case.” (emphasis added). Here, the information sought relates squarely to the Foundation’s

   claims, which assert that the University breached its agreement with the Foundation and its duty

   of good faith and fair dealing in the faculty selection process and by failing to keep the Foundation

   informed of the process.




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            Finally, the University references its appointment of Roger Myerson as the final faculty

   chair after the commencement of this litigation as further evidence that the Court should essentially

   dismiss part of the Foundation’s claims through a discovery ruling. In fact, this very appointment

   reinforces the need for discovery on this topic. The selection of Professor Myerson as a faculty

   member of The Pearson Institute begs the question of why Professor Myerson, who has been with

   the University since long before the creation of The Pearson Institute, was not selected as one of

   the named chaired faculty earlier. Indeed, Professor Meyerson appears to be at least the third

   choice for the final named chaired faculty position after two others declined the position. The

   answer to this question—which the discovery sought by the Foundation is likely to shed light on—

   may be that Professor Myerson does not have expertise in the realm of global conflicts and that

   the University appointed him merely as part of its litigation strategy in an attempt to avoid an

   existing uncured default under the Grant Agreement. This appointment demands the discovery at

   issue in the Foundation’s Motion, especially where the University is relying on it as a defense to

   the Foundation’s claims.

      II.      The Foundation Has A Right to Discovery Regarding Curriculum.

            Once again, the University attempts to misconstrue the Grant Agreement in support of its

   quest to deny the Foundation discovery. Citing § 3.5(b) (quoted above), the University asserts that

   the Foundation is not entitled to learn whether any of the courses taught as part of The Pearson

   Institute were previously taught because the Foundation has no “role or authority” in “setting the

   research agenda of the Pearson Institute”. (Response at 8; Grant Agreement, Doc. 57-4 at § 3.5(b)).

   The University further claims that the information sought has no relevance to the University’s

   obligations under the Grant Agreement. Both arguments are disingenuous and without merit. First,

   as a matter of common sense, the curriculum of the Institute is not the same as the “research



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   agenda” referenced in § 3.5(b). Second, the parties’ intent that new courses in the area of global

   conflicts be created for The Pearson Institute is explicitly referenced in the Grant Agreement:

              WHEREAS, University faculty and other academic appointees affiliated with the
              Pearson Institute will develop educational programs, including academic
              courses, within the Harris School of Public Policy Studies (the “Harris School”)
              and other schools and divisions with the University relating to the study of global
              conflict and its resolution…

   (Grant Agreement, Doc. 57-4 at 2, emphasis added).2 In addition, the Grant Agreement sets forth

   requirements for the number of courses to be offered as part of The Pearson Institute. (See id. at

   Exh. C). Viewing the Grant Agreement in its totality, it is clear the University had a duty to create

   new course offerings for The Pearson Institute. The information sought by the Foundation is

   directly relevant to determining whether the University fulfilled this obligation and satisfied its

   obligation to act in good faith. As such, the University should be compelled to provide the

   responsive information.

       III.      The University Should Be Compelled to Produce the Limited Calendar
                 Information Sought by the Foundation.

              The University’s resistance to producing calendars for four of its custodians during a

   limited timeframe is unfounded. As noted above, the Stipulated Protective Order prevents public

   disclosure of these items if designated as confidential by the University, thereby alleviating its

   concerns about revealing “strategic plans” and other sensitive information. (Response at 9).

   Moreover, the calendars are critical to determining the time devoted to The Pearson Institute on

   the part of the University personnel at issue. The University should be compelled to provide the

   requested documents.



   2
              “The
                recitals in the agreement must be considered to discover the intent of the parties.”
   Fiore v. Fiore, 61 A.D.2d 1004, 1006, 402 N.Y.S.2d 1014, 1016 (1978), aff'd, 46 N.Y.2d 971, 389
   N.E.2d 138 (1979).

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      IV.      The Four Additional Custodians Requested by the Foundation Have Unique,
               Relevant Documents.

            The University has failed to demonstrate that the four additional custodians sought by the

   Foundation do not possess relevant, unique documents and it should therefore be compelled to

   collect and produce those custodians’ ESI and paper documents.

            Chairman Joseph Neubauer. The University does not refute that Chairman Neubauer

   possesses relevant documents and acknowledges his involvement in the facts at issue, albeit while

   mischaracterizing it as “very limited.” (Response at 10). Notably, the University does not deny

   that it has portrayed Chairman Neubauer’s meeting with the Pearsons as an act purportedly

   fulfilling a University meeting requirement under the Grant Agreement. The University’s

   Response also impliedly acknowledges that the University’s Board of Trustees has conducted

   meetings that are relevant to this dispute. (See id. (referencing University’s agreement to produce

   Board minutes and agendas)). Given these factors, Chairman Neubauer, who is likely to have

   communicated about relevant subject matters of this litigation with others that are not existing

   custodians, should be designated as a custodian.

            David Greene. The University’s Response acknowledges Mr. Greene’s involvement in the

   facts at issue but maintains that it would be a “significant burden” to collect his documents because

   they are on legacy storage systems. The University, however, fails to explain how this is

   burdensome or to provide any additional facts showing that the claimed burden is disproportionate

   to the benefit to be derived from the relevant documents at issue. There is no explanation as to the

   cost or time effort in obtaining the data. In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig.,

   No. 12-MD-2342, 2013 WL 8445354, at *4 (E.D. Pa. Oct. 31, 2013), report and recommendation

   adopted, No. 12-MD-2342, 2013 WL 8445280 (E.D. Pa. Nov. 19, 2013) (“A generalized reference

   to the burden of a discovery activity is far less convincing [than] specific affidavits or other


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   evidence that would quantify the cost or delay that the activity would impose.”). As such, the

   University should be compelled to produce it. Cont'l Illinois Nat. Bank & Tr. Co. of Chicago v.

   Caton, 136 F.R.D. 682, 684-85 (D. Kan. 1991) (“All discovery requests are a burden on the party

   who must respond thereto. Unless the task of producing or answering is unusual, undue or

   extraordinary, the general rule requires the entity answering or producing the documents to bear

   that burden.”).

           Kim Taylor and Russell Herron. The University resists inclusion of Ms. Taylor and Mr.

   Herron as custodians based upon its conclusory statement that their roles in connection with The

   Pearson Institute have been solely “as legal counsel” – ignoring their roles as negotiators and/or

   drafters of the Grant Agreement. This is insufficient. As the party attempting to rely on a privilege

   to avoid discovery, the University possesses the burden to demonstrate that the privilege is

   applicable. Barclaysamerican Corp. v. Kane, 746 F.2d 653, 656 (10th Cir. 1984) (“The party

   seeking to assert the attorney-client privilege or the work product doctrine as a bar to discovery

   has the burden of establishing that either or both is applicable.”); accord Egiazaryan v. Zalmayev,

   290 F.R.D. 421, 428 (S.D.N.Y. 2013). The University has not met its burden to show that the

   entirety of Ms. Taylor’s and Mr. Herron’s files are likely to be privileged. To the extent they have

   documents subject to a valid claim of privilege, those documents can be logged as such.

      V.      The Foundation’s Requested Search Terms Are Likely to Generate Responsive
              Documents.

           Despite the Foundation having agreed to the full set of search terms requested by the

   University, the University refuses to reciprocate. The University represents that the additional

   terms requested by the Foundation would result in an added 200,000 documents for it to review

   for responsiveness and that a review of 100 random sample documents did not yield any relevant




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   documents. However, this information is insufficient to deny the Foundation’s requested search

   terms.

            The University has not provided any information regarding the number of specific hits

   generated by each requested search term. It could be that a single term included is resulting in the

   vast majority of documents, which could then be tailored to yield better results. In addition, the

   sample size of 100 documents out of over 200,000 is woefully insufficient to make any conclusive

   determinations. The Court has not been provided with any information regarding which terms

   yielded the 100 documents at issue and it would be improper to reject all of the requested terms

   on this basis. The Foundation therefore requests that the Court order the University to utilize the

   search terms as requested, or in the alternative, conduct an in camera review of a larger sample of

   documents composed of a number of documents generated by each search term so that an

   individualized and meaningful determination can be made with respect to the Foundation’s

   requested search terms.

      VI.      University Custodians’ Mobile Devices are Within Its Possession, Custody, or
               Control and ESI from Those Devices Should Be Collected and Searched.

            The University resists its obligation to produce all responsive ESI contained on its

   custodians’ mobile devices solely on the basis that “[s]ome of the 22 custodians have personal cell

   phones that the University neither purchased nor pays for.” (Response at 14). But the University

   provides no information about who those people are. It is evident, however, that some University

   custodians have mobile devices paid for (and therefore obviously controlled) by the University—

   the Court and the Foundation are simply left to guess which ones. Without any information about

   the circumstances surrounding University custodians’ mobile devices (which the Foundation has

   repeatedly requested), it is impossible to make a determination about which custodians’ mobile

   device ESI is or is not within the University’s possession, custody, or control. In the absence of


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    any information about which individuals’ mobile devices the University claims are out of its reach,

    the University’s blanket request to avoid this discovery obligation should be dismissed out of hand.

           The University’s position is also belied by its own proposed method of collection—to ask

    if each custodian has relevant messages and then to collect and produce them. If the University is

    able to simply collect the messages at will, the devices at issue are within its possession custody

    or control. See Ice Corp. v. Hamilton Sundstrand Corp., 245 F.R.D. 513, 516-17 (D. Kan. 2007)

    (“Courts have universally held that documents are deemed to be within the possession, custody or

    control if the party has actual possession, custody or control or has the legal right to obtain the

    documents on demand.” (emphasis in original). Moreover, the University’s Response is silent as

    to the fact that it now proposes targeted collections for all of its custodians despite having

    previously refused to permit the Foundation’s request to perform targeted collections for two

    individuals that the Foundation has agreed to as custodians.3 The University should be compelled

    to collect and search all custodians’ mobile devices.

                                             CONCLUSION

           The Foundation respectfully requests that the Court enter an Order granting the

    Foundation’s Motion to Compel with respect to all of the foregoing issues.




    3
            The University’s attempt to shirk its data collection obligations stands in stark contrast to
    the efforts undertaken by the Foundation for its custodians. None of the Foundation’s custodians
    have computers, phones, or email accounts maintained or provided by the Foundation. Nor are any
    of the custodians reimbursed by the Foundation for any costs and expenses associated with such
    data sources. Still, the Foundation obtained ESI from all of its custodians to perform searches of
    the data using the University’s requested search terms to fully respond to the University’s
    discovery requests

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                                     Respectfully submitted,

                                     THE THOMAS L. PEARSON AND THE
                                     PEARSON FAMILY MEMBERS FOUNDATION


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                                     CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of February, 2019, I electronically transmitted the attached

    document to the Clerk of Court using the ECF System for filing. Based on the records currently

    on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following registrants:

    Andrew C. Baak
    Rebecca W. Bacon
    Jessica Lynn Dickerson
    Jeffrey A. Hall
    William S. Leach
    Taylor A. R. Meehan
    Faye E. Paul




                                                  s/ P. Scott Hathaway
                                                  P. Scott Hathaway




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